                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )          No. 4:18CR860 HEA
                                          )
DENNIS BRIAN KLOPFENSTEIN,                )
                                          )
             Defendant.                   )

                  OPINION, MEMORANDUM AND ORDER

      This case is before the Court on Defendant’s Motion for Compassionate

Release under 18 U.S.C. § 3582(c)(1)(A)(i), [Doc. No. 76]. Counsel entered her

appearance on behalf of Defendant and filed a Notice of Intent not to file

Supplemental Motion. The United States did not reply to Defendant’s Motion. For

the reasons set forth below, the Motion is denied.

                                   Background

      On August 26, 2019, Defendant pleaded guilty to one count of mailing a

threatening communication in violation of 18 U.S.C. §§ 876(c). Defendant’s

conviction was based on his conduct on October 25, 2017. On that date, while he

was incarcerated at South Central Correctional Center, Defendant wrote and

mailed in the United States Postal Service a card containing threats to kidnap or
injure the addressee and his family. At the time Defendant sent this note, he was

incarcerated for aggravated stalking of the addressee’s son.

      The Court sentenced Defendant to 30 months imprisonment followed by a

three-year term of supervised release. Defendant is presently serving his sentence

at Sheridan FCI, with a projected release date of April 17, 2021. Find an inmate,

FEDERAL BUREAU OF PRISONS, https://www.bop.gov/inmateloc/ (last visited April

12, 2021).

                               Defendant’s Motion

      On September 28, 2020, Defendant filed his motion for compassionate

release. Therein, Defendant states that he tested positive for COVID-19 on August

21, 2020 but “survived and recovered.” In support of the motion, Defendant argues

that he is not getting adequate mental health care in the BOP and that he has a

painful and decomposing molar due to his tooth not holding temporary fillings.

Defendant also states that his grandmother is 95 and “fading away” and that he

needs to be with her in her last days. Finally, Defendant states that he has a home

plan with his mother and reports that he has had no disciplinary issues while

incarcerated.

                                    Discussion

      Under Section 603(b) of the First Step Act, effective December 21, 2019, an

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inmate may now himself (or through his advocate) file a motion for compassionate

release pursuant to 18 U.S.C. § 3582(c). Previously, a court could only act to

reduce a defendant’s sentence for “extraordinary and compelling reasons” if the

Director of BOP filed such a motion. As the proponent of the motion, Defendant

bears the burden of proving both that he has satisfied the procedural prerequisites

for judicial review and “extraordinary and compelling reasons” exist to support the

motion. 18 U.S.C. § 3582(c)(1)(A); see United States v. Butler, 970 F.2d 1017,

1026 (2d Cir. 1992) (“A party with an affirmative goal and presumptive access to

proof on a given issue normally has the burden of proof as to that issue.”).

      The First Step Act requires a defendant to petition the Bureau of Prisons for

release before he can petition the court directly. 18 U.S.C. § 3582(c)(1)(A)(i).

Defendant bears the burden of showing that he exhausted his administrative

remedies with the Bureau of Prisons before filing a compassionate-release motion.

United States v. Kinley, No. 1:16-CR-10018-003, 2020 WL 2744115, at *2 (W.D.

Ark. Apr. 17, 2020). Defendant made no showing that he petitioned the warden

regarding compassionate release, thus the Court cannot find that he fulfilled the

procedural prerequisites for judicial review.

      Even if Defendant had properly shown that he petitioned the BOP as

required under the First Step Act, he has not established extraordinary and

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compelling reasons to support his release. In evaluating a defendant’s request for

reduction in sentence on its merits, 18 U.S.C. § 3582(c)(1)(A)(i) requires a court to

find that “after considering the factors set forth in section 3553(a) to the extent

they are applicable,” that “extraordinary and compelling reasons warrant such a

reduction.” Any reduction must be consistent with applicable policy statements

issued by the United States Sentencing Commission. 18 U.S.C. § 3582(c)(1)(A).

United States Sentencing Guideline 1B1.13,1 which governs compassionate release


1 Sentencing Guidelines section 1B1.13 and its Application Note 1 have not been amended to reflect the changes
made by the First Step Act, because the United States Sentencing Commission has not had a quorum since the
passage of the Act. Guidelines Section 1B1.13 appears inconsistent with the amended statute because it requires the
BOP Director to make a motion for compassionate release. Application Note 1 appears inconsistent with the new
law because its list of specific reasons that could justify compassionate release (medical condition, age, family
circumstances) are not required by the statute and its catch-all “other reasons” subsection requires the BOP Director
to determine what are “extraordinary and compelling” reasons. Based on interpretation of the statute's language,
several of the U.S. Circuit Courts of Appeals and district courts have found the guideline is inapplicable to First Step
Act motions filed by prisoners and does not limit the factors a district court may consider. See United States v.
McCoy, 981 F.3d 271, 281-82 (4th Cir. 2020) (citing cases).

The Eighth Circuit Court of Appeals has not yet articulated the extent of a district court's discretion under the First
Step Act to determine whether extraordinary and compelling reasons exist for compassionate release, but it has
recognized that such discretion exists. See United States v. Rodd, 966 F.3d 740, 746-47 & n.7 (8th Cir. 2020). The
Second Circuit Court of Appeals examined the First Step Act in depth in United States v. Brooker (Zullo), 976 F.3d
228 (2d Cir. 2020). The district court denied defendant Zullo's motion for compassionate release relying on
Guideline § 1B1.13, “which seemingly still required a motion by the BOP.” Id. at 234. The Second Circuit analyzed
the First Step Act's language and held it allows courts independently to determine what reasons, for purposes of
compassionate release, are “extraordinary and compelling,” id. at 236, and that Guidelines § 1B1.13 Application
Note 1(D) applies only where a First Step Act motion is filed by the BOP. Id. at 230, 236. The Second Circuit
concluded “the First Step Act freed district courts to consider the full slate of extraordinary and compelling reasons
that an imprisoned person might bring before them in motions for compassionate release. Neither Application Note
1(D), nor anything else in the now-outdated version of Guideline § 1B1.13, limits the district court's discretion.” Id.
at 237.

The Second Circuit also observed, “It bears remembering that compassionate release is a misnomer. 18 U.S.C. §
3582(c)(1)(A) in fact speaks of sentence reductions. A district court could, for instance, reduce but not eliminate a
defendant's prison sentence, or end the term of imprisonment but impose a significant term of probation or
supervised release in its place.” Id. at 237. “Beyond this, a district court's discretion in this area—as in all sentencing
matters—is broad. The only statutory limit on what a court may consider to be extraordinary and compelling is that
“[r]ehabilitation ... alone shall not be considered an extraordinary and compelling reason.” 28 U.S.C. § 994(t)
(emphasis added).” Id. at 237-28 (internal citation and footnote omitted).

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reductions, provides some specific examples, including:

         (A) Medical Condition of the Defendant.—

                  (i) The defendant is suffering from a terminal illness (i.e., a
                  serious and advanced illness with an end of life trajectory). A
                  specific prognosis of life expectancy (i.e., a probability of death
                  within a specific time period) is not required. Examples include
                  metastatic solid-tumor cancer, amyotrophic lateral sclerosis
                  (ALS), end-stage organ disease, and advanced dementia.

                  (ii) The defendant is—

                           (I) suffering from a serious physical or medical
                           condition,


The Sixth Circuit Court of Appeals followed the Second Circuit and held that the First Step Act's passage rendered §
1B1.13 ‘inapplicable’ to cases where an imprisoned person files a motion for compassionate release.” United States
v. Jones, 980 F.3d 1098, 1109 (6th Cir. 2020) (citing Brooker, 976 F.3d at 234). The Sixth Circuit concluded, “Until
the Sentencing Commission updates § 1B1.13 to reflect the First Step Act, district courts have full discretion in the
interim to determine whether an ‘extraordinary and compelling’ reason justifies compassionate release when an
imprisoned person files a § 3582(c)(1)(A) motion.” Id. In sum, “In cases where incarcerated persons file motions for
compassionate release, federal judges may skip step two of the § 3582(c)(1)(A) inquiry and have full discretion to
define ‘extraordinary and compelling’ without consulting the policy statement § 1B1.13.” Id. at 1111.

The Seventh Circuit Court of Appeals also reached the same conclusion, holding that “Section 1B1.13 addresses
motion and determinations of the [BOP] Director, not motions by prisoners.” United States v. Gunn, 980 F.3d 1178,
1180 (7th Cir. 2020) (citing Brooker, 976 F.3d 228). The Seventh Circuit found that “the Sentencing Commission
has not yet issued a policy statement ‘applicable’ to [prisoners’] requests.” Id. The court concluded, “Until ... §
1B1.13 is amended, ... the Guidelines Manual lacks an ‘applicable’ policy statement covering prisoner-initiated
applications for compassionate release. District judges must operate under the statutory criteria—‘extraordinary and
compelling reasons’—subject to deferential appellate review.” Id.

The Fourth Circuit Court of Appeals “agree[d] with the Second Circuit and the emerging consensus in the district
courts: There is as of now no ‘applicable’ policy statement governing compassionate-release motions filed by
defendants under the recently amended § 3582(c)(1)(A), and as a result, district courts are ‘empowered ... to
consider any extraordinary and compelling reason for release that a defendant might raise.’ ” McCoy, 981 F.3d at
284 (quoting Brooker, 976 F.3d at 230) (holding the severity of defendants’ sentences as a result of “stacking” under
former 18 U.S.C. § 924(c), coupled with the disparity between those sentences and the sentences they would receive
today, constituted extraordinary and compelling reasons for relief under the First Step Act).

The Court believes that in the absence of an amended policy statement, 1B1.13 provides guidance for consideration.
In any event, the Court’s decision is based on the failure of Defendant to establish any circumstances that are
extraordinary and compelling enough to warrant release, as discussed, infra.


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                   (II) suffering from a serious functional or cognitive
                   impairment, or

                   (III) experiencing deteriorating physical or mental health
                   because of the aging process, that substantially
                   diminishes the ability of the defendant to provide self-
                   care within the environment of a correctional facility and
                   from which he or she is not expected to recover.

      (B) Age of the Defendant.—The defendant (i) is at least 65 years old;

            (ii) is experiencing a serious deterioration in physical or mental
            health because of the aging process; and (iii) has served at least
            10 years or 75 percent of his or her term of imprisonment,
            whichever is less.

      (C) Family Circumstances.—

            (i) The death or incapacitation of the caregiver of the
            defendant’s minor child or minor children.

            (ii) The incapacitation of the defendant’s spouse or registered
            partner when the defendant would be the only available
            caregiver for the spouse or registered partner.

      (D) Other Reasons.—As determined by the Director of the Bureau of
      Prisons, there exists in the defendant’s case an extraordinary and
      compelling reason other than, or in combination with, the reasons
      described in subdivisions (A) through (C).

      In support of his request, Defendant cites his COVID-19 infection, which he

contends was “preventable, unfair and unnecessary.” He also cites his mental

health issues, claiming the BOP has only allowed him to visit a doctor once and

sometimes does not have his prescribed medications, as well as his dental issues

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due to an unfilled molar. Defendant also cites his elderly grandmother as being

near the end of her life. Finally, Defendant reports that he has demonstrated

exemplary conduct while incarcerated.

      The Court does not find that Defendant has met his burden of proving that

extraordinary and compelling circumstances exist warranting a reduced sentence.

Having contracted COVID-19 once reduces the risk that Defendant will contract

the virus again. The CDC guidance provides that while repeat cases of COVID-19

have been reported, they remain rare. See Reinfection with COVID-19, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://www.cdc.gov/coronavirus/2019-

ncov/your-health/reinfection.html (Oct. 27, 2020).

      Defendant offers no evidence supporting his claims that he is receiving

inadequate mental health and dental care while in the BOP. Further, Defendant has

not shown that he is unable to care for himself in the BOP as a result of either

condition. Finally, although being incarcerated while an aged grandparent is

nearing death is a sad and unfortunate situation, it does not rise to the level, legally,

of an “extraordinary and compelling” reason.

      Defendant’s reported good behavior is commendable. However,

rehabilitative efforts do not constitute extraordinary and compelling circumstances

warranting defendant’s release. See U.S.S.G. § 1B1.13, application note 3

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(“Pursuant to 28 U.S.C. § 994(t), rehabilitation of the defendant is not, by itself, an

extraordinary and compelling reason for purposes of this policy statement.).

      For the foregoing reasons, this Court finds that Defendant did not exhaust

his administrative remedies as required under 18 U.S.C. § 3582(c)(1)(A)(i).

Moreover, even if the Court could excuse Defendant’s failure to exhaust his

procedural remedies, Defendant has not met his burden of proving that

“extraordinary and compelling reasons” exist to support the requested relief.

      Accordingly, the motion for compassionate release [Doc. No. 76] is

DENIED.

      Dated this 14th day of April, 2021.



                                                ________________________________________
                                                   HENRY EDWARD AUTREY
                                                UNITED STATES DISTRICT JUDGE




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